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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


UNITED STATES OF AMERICA,                   :
                                            :
                   v.                       :
                                            :         CRIMINAL ACTION NO.
TRAVIS TODD,                                :         1:16-CR-0427-AT-30
                                            :



                                        ORDER

         Presently before the Court is the Magistrate Judge’s Report and

Recommendation (“R&R”) [Doc. 1089] recommending that defendant’s Motion to

Suppress [Doc. 621] and Motion for Jackson-Denno Hearing [Doc. 622] be denied.

         A district judge has broad discretion to accept, reject, or modify a magistrate

judge’s proposed findings and recommendations. United States v. Raddatz, 447

U.S. 667, 680 (1980). Pursuant to 28 U.S.C. § 636(b)(1), the Court reviews any

portion of the R&R that is the subject of a proper objection on a de novo basis and

any non-objected portion on a “clearly erroneous” standard. Defendant has filed no

objections to the R&R; therefore, the Court reviews the record in this case for clear

error.

         After an independent review of the record, the Court finds that the R&R is

correct. Accordingly, the Court ADOPTS the Magistrate Judge’s R&R [Doc.
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1089]; and DENIES Defendant’s Motion to Suppress [Doc. 621] and Motion for

Jackson-Denno Hearing [Doc. 622].



     IT IS SO ORDERED this 19th day of September, 2019.




                                          ___________________________________
                                          AMY TOTENBERG
                                          UNITED STATES DISTRICT JUDGE




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